                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           BRYSON CITY DIVISION

                                 CRIMINAL NO. 2:05CR3


UNITED STATES OF AMERICA                   )
                                           )
                                           )
              VS.                          )              ORDER
                                           )
                                           )
MARCOS GALINDO XOCHIHUA                    )
RICHARD JAMES TEESATUSKIE                  )
                                           )


       THIS MATTER is before the Court sua sponte to continue the sentencing hearing for

Richard James Teesatuskie scheduled for August 31, 2005, and to reschedule the sentencing

hearings for the captioned Defendants.

       IT IS, THEREFORE, ORDERED that the sentencing hearing for Richard James

Teesatuskie scheduled for August 31, 2005, is hereby CONTINUED.

       IT IS FURTHER ORDERED that the sentencing hearings for Richard James

Teesatuskie and Marcos Galindo Xochihua are hereby scheduled for FRIDAY, SEPTEMBER

9, 2005, AT 9:30 AM, in Asheville, North Carolina.




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                       Signed: August 4, 2005




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